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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Harold Allen,                          Docket 3:18-cv-01216-RDM
     Plaintiff
                                       (JUDGE ROBERT D. MARIANI)
v.

First National Bank of Omaha,
      Defendant                        FILED ELECTRONICALLY

                      STIPULATION OF DISMISSAL

      Please dismiss this action without costs and with prejudice.

s/ Brett Freeman                       s/ Joann Needleman (with consent)
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